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     5	 LATERAL LINK GROUP, LLC
     6	
     7	
     8	                             UNITED STATES DISTRICT COURT
     9	                            CENTRAL DISTRICT OF CALIFORNIA
    10	
    11	 LATERAL LINK GROUP, LLC, a                CV 14-05696-JAK (JEMx)
          California Limited Liability Company,
    12	                                           [HON. JOHN A. KRONSTADT]
                          Plaintiff,              SECOND AMENDED COMPLAINT
    13	
                                                  FOR:
    14	         v.
                                                  (1) INFRINGEMENT OF
    15	 HABAEAS CORP., a Delaware                 FEDERALLY REGISTERED
                                                  TRADEMARK (15 U.S.C. § 1114;
    16	
          Corporation, doing business as          Lanham Act 32);
          LATERAL.LY; MICAH SPRINGUT,
    17	   an individual; SPENCER SCHACK, an       (2) FEDERAL UNFAIR
                                                  COMPETITION (15 U.S.C. §
    18	
          individual, SHELDON BAKER, an           1125(a); Lanham Act § 43(a));
          individual, YIMING LIU, an
    19	   individual, AUDREY BARRON, an           (3) COMMON LAW TRADEMARK
                                                  INFRINGEMENT;
    20	   individual, and DOES 1-50, inclusive,
                                                  (4) COMMON LAW UNFAIR
    21	                   Defendants.	            COMPETITION;
    22	                                           (5) CALIFORNIA UNFAIR
                                                  COMPETITION (California Business
    23	                                           and Professions Code § 17200)
    24	                                           (6) CONTRIBUTORY
                                                  INFRINGEMENT
    25	
                                                  DEMAND FOR JURY TRIAL
    26	
    27	
    28	
	
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     1	
     2	         Plaintiff Lateral Link Group, LLC (“Lateral Link”) by and for its First Amended
     3	 Complaint, alleges on personal knowledge as to its own actions, and upon information
     4	 and belief as to the actions of others, as follows:
     5	
                                               INTRODUCTION
     6	
                1.     This is an action for federal trademark infringement, and federal unfair
     7	
          competition, in violation of Federal Lanham Act, 15 U.S.C. § 1051, et seq.; common law
     8	
          trademark infringement; and state unfair competition in violation of Cal. Bus. & Prof.
     9	
          Code § 17200, et seq., against Defendants Habaes Corp. dba Lateral.ly and Micah
    10	
          Springut (“Defendants”), for their commercial use and exploitation of a mark confusingly
    11	
          similar to Lateral Link’s trademark, LATERAL LINK, in connection with the sale of
    12	
          legal recruiting services. Defendants are intentionally trading on Lateral Link’s goodwill
    13	
          by using a name, “Lateral.ly” (referred to herein as the “Infringing Mark”), that is
    14	
          confusingly similar to Lateral Link’s trademark. Defendants’ use of the Infringing Mark
    15	
          is likely to cause confusion or mistake and to deceive consumers as to the source of
    16	
          services provided under that mark, or as to the sponsorship or other commercial
    17	
          affiliation of Defendants’ business with Lateral Link. These activities are all likely to
    18	
          cause considerable harm to Lateral Link and its business.
    19	
                2.     Lateral Link hereby seeks (1) injunctive relief against Defendants’
    20	
          continued unauthorized and improper commercial use and exploitation of any trademark
    21	
          confusingly similar to Lateral Link’s trademark on or in connection with the sale of any
    22	
          legal recruiting services; and (2) all damages arising from Defendants’ past and present
    23	
          infringement and reimbursement of Lateral Link’s attorneys’ fees and costs for having to
    24	
          bring this suit to enforce its trademark rights.
    25	
                                                THE PARTIES
    26	
    27	
                3.     Plaintiff Lateral Link is a California LLC with its principal place of business

    28	
          in Los Angeles, California.

	
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     1	
                4.     Lateral Link is informed and based thereon believes that Defendant Habaes
     2	
          Corp. dba Lateral.ly (“Lateral.ly”) is an entity with its principal place of business in San
     3	
          Francisco, California.
     4	
                5.     Lateral Link is informed and based thereon believes that Defendant Micah
     5	
          Springut (“Springut”) is the owner and Chief Executive Officer of Habaes Corp. dba
     6	
          Lateral.ly and a resident of San Francisco, California.
     7	
                6.     Defendant Spencer Schack (“Schack”) is the “Director of UX” of Lateral.ly
     8	
          and is a resident of California.
     9	
                7.     Defendant Sheldon Baker (“Baker”) is the “Director of Engineering” of
    10	
          Lateral.ly according to their website, and as such, does business in California. On
    11	
          information and belief, Baker is a resident of Canada.
    12	
                8.      Defendant Yiming Liu (“Liu”) is the “Chief Technological Officer” of
    13	
          Lateral.ly and a resident of California.
    14	
                9.     Defendant Audrey Barron (“Barron”) is the “Chief Legal Officer” of
    15	
          Lateral.ly and a resident of California.
    16	
                10.     The true names and capacities, whether individual, corporate, associate or
    17	
          otherwise of Defendant Does 1 through 50, inclusive, are unknown to Lateral Link who
    18	
          therefore sues said Defendants by such fictitious names. Plaintiff will amend this
    19	
          Complaint to allege their true names and capacities when ascertained.
    20	
    21	                                JURISDICTION AND VENUE

    22	         11.    This is an action seeking temporary, preliminary and permanent injunctive
    23	 relief, monetary remedies, other equitable remedies, and attorneys’ fees based upon
    24	 Defendants’ trademark infringement, and unfair competition in connection with its use of
    25	 the Infringing Mark in relation to its legal recruiting services, which unlawful acts have
    26	 occurred, in significant part, in the state of California and in this district.
    27	
    28	
	
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     1	
                12.    This Court has subject matter jurisdiction over this lawsuit pursuant to 15
     2	
          U.S.C. §§ 1121 and 1125(a), and 28 U.S.C. §§ 1331, 1338 and 1367, and pursuant to the
     3	
          Court’s pendent jurisdiction.
     4	
                13.    Upon information and belief, this Court has personal jurisdiction over
     5	
          Defendants since Defendant Springut resides in this State and Defendant Habaes Corp.
     6	
          does business is in this State. Venue is proper in this judicial district under the provisions
     7	
          of 28 U.S.C. § 1391(b) and (c).
     8	
     9	                    PLAINTIFF AND ITS LATERAL LINK BUSINESS

    10	         14.    As reflected on its website, www.laterallink.com, Lateral Link is a premier
    11	 legal recruiting firm and networking forum for elite attorneys.
    12	         15.    Lateral Link was founded in 2005, and specializes in placing attorneys at
    13	 top-tier firms and provides career services to members through its online job database as
    14	 well as traditional off-line recruiting and networking services. Lateral Link helps
    15	 attorneys to advance their career and regularly works with both attorneys and firms to
    16	 ensure a smooth lateral move for both the candidate and the firm. Lateral Link works
    17	 with both law firms and in-house legal employers in the United States, Asia, Western
    18	 Europe, and Middle East.
    19	         16.    Lateral Link is the sole provider of its services, and the company has gone to
    20	 considerable expense to design and control its marketing collateral. In doing so, it
    21	 exercises great care and deliberation with respect to the best way to present its services in
    22	 light of various concerns such as the overall impression on the consumer, the consistency
    23	 and quality of services, and reducing the risk of copying by competitors.
    24	         17.    To ensure accurate service representation as well as consistent sales and
    25	 quality of its services, Lateral Link regulates all uses of its trade name, trademarks, and
    26	 marketing collateral.
    27	         18.    Lateral Link provides its services under the famous mark LATERAL LINK
    28	 (the “LATERAL LINK Mark”).
	
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     1	
                19.     LATERAL LINK is a term related to “personnel placement and recruitment
     2	
          for attorneys and other professionals” and was adopted by Lateral Link to identify the
     3	
          particular services that are the subject of the trademark registration infringed by
     4	
          Defendants.
     5	
                20.     Through Lateral Link’s longstanding, extensive and exclusive use of the
     6	
          LATERAL LINK Mark, the LATERAL LINK Mark has become famous, and Lateral
     7	
          Link has enjoyed commercial success, in part, due to its sale of services under the
     8	
          LATERAL LINK Mark. The LATERAL LINK Mark is readily recognized by
     9	
          consumers of legal recruiting services and is a valuable asset of Lateral Link.
    10	
                21.     Further, LATERAL LINK is the subject of U.S. Trademark Registration No.
    11	
          3762826 for the mark LATERAL LINK. The above-referenced registration was issued
    12	
          on March 23, 2010, based on a first use in commerce date of June 1, 2006, in conjunction
    13	
          with “personnel placement and recruitment for attorneys and other professionals.”
    14	
          Lateral Link’s registrations for the LATERAL LINK Mark is inherently distinctive and
    15	
          was registered as such on the Principal Register of the United States Patent and
    16	
          Trademark Office.
    17	
                22.     Pursuant to 15 U.S.C. § 1057(b), the LATERAL LINK registration is prima
    18	
          facie evidence of the validity of Lateral Link’s claim to trademark rights in LATERAL
    19	
          LINK, and of the exclusive right of Lateral Link to use the LATERAL LINK Mark in
    20	
          commerce in connection with “personnel placement and recruitment for attorneys and
    21	
          other professionals.”
    22	
                23.     Additionally, pursuant to 15 U.S.C. § 1057(c), the August 3, 2009 filing of
    23	
          the application, which matured into LATERAL LINK registration, constituted
    24	
          constructive use of the LATERAL LINK trademark on that filing date, conferring a right
    25	
          of priority, nationwide in effect, in connection with the goods specified in the registration
    26	
          (namely, goods and services associated with “personnel placement and recruitment for
    27	
    28	
	
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     1	
          attorneys and other professionals”) against any other entity (with certain statutory
     2	
          exceptions, none of which applies to Defendants).
     3	
                24.    Accordingly, Lateral Link is the owner of all rights in and to the LATERAL
     4	
          LINK Mark for use on and in connection with “personnel placement and recruitment for
     5	
          attorneys and other professionals.”
     6	
     7	                            DEFENDANTS’ WRONGFUL ACTS

     8	         25.    At all relevant times, Defendants Lateral.ly and Springut (“Lateral.ly
     9	 Defendants”) are and have been aware of Lateral Link’s business and the products it sells
    10	 under the LATERAL LINK Mark and the goodwill represented and symbolized by the
    11	 LATERAL LINK Mark.
    12	         26.    The Lateral.ly Defendants are currently not, and never have been, authorized
    13	 providers of Lateral Link services.
    14	         27.    Recently, Lateral Link became aware that Defendant Springut’s company,
    15	 “Lateral.ly,” is intentionally trading on Lateral Link’s goodwill by using a name that is
    16	 confusingly similar to the LATERAL LINK Mark. The Infringing Mark, when spoken,
    17	 sounds almost identical to the LATERAL LINK Mark.
    18	         28.    Defendants’ website, https://lateral.ly/, states that the company was formed
    19	 in early 2014. The website further advertises that Lateral.ly aims to serve the same group
    20	 of customers as Lateral Link. Both companies focus on personnel placement and
    21	 recruitment for attorneys. To further increase the risk of confusion between Lateral Link
    22	 and Lateral.ly, the Lateral.ly Defendants have also copied parts of Lateral Link’s
    23	 business model. For example, Lateral.ly’s website indicates that the company will offer
    24	 a $5,000 “signing bonus” to candidates who are hired on Lateral.ly. To Lateral Link’s
    25	 knowledge, it was the first legal recruiting firm to offer candidates such a bonus.
    26	         29.    Defendants’ use of the Infringing Mark in connection with its legal
    27	 recruiting services was made with full awareness of Lateral Link’s prior usage of the
    28	 LATERAL LINK Mark. Further, Defendants were aware of the unauthorized nature of
	
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     1	
          such use at least as early as May 16, 2014 when Lateral Link provided Defendants with a
     2	
          cease and desist letter.
     3	
                30.    Defendants’ unauthorized use of the LATERAL LINK Mark leads
     4	
          consumers to erroneously believe that Defendants are Lateral Link, or affiliated with, or
     5	
          sponsored by, Lateral Link as an authorized provider of Lateral Link’s high-quality legal
     6	
          recruiting services.
     7	
                31.    Soon after Lateral Link became aware of Defendants’ unauthorized use of
     8	
          its trademark, counsel for Lateral Link sent, by email and U.S. Mail (certified) on May
     9	
          16, 2014, a cease and desist letter to Defendant Springut demanding, inter alia, that
    10	
          Defendants terminate their use of the Infringing Mark.
    11	
                32.    Defendant Springut never responded to the cease and desist letter and
    12	
          continues to use the LATERAL LINK Mark without authorization in a willful manner.
    13	
                33.    The unauthorized use of the LATERAL LINK Mark on Defendants’ website
    14	
          attempts to attract consumers to Defendants’ website by leading consumers to
    15	
          erroneously believe that Defendants are Lateral Link, or an affiliate of Lateral Link.
    16	
                34.    Defendants’ use of the LATERAL LINK Mark unfairly and unlawfully
    17	
          wrests from Lateral Link control over the federally registered LATERAL LINK
    18	
          trademark as well as the considerable goodwill and reputation Lateral Link has cultivated
    19	
          in its trademark.
    20	
                35.    Lateral Link has no control over the Lateral.ly Defendants business, and
    21	
          Lateral Link’s valuable reputation and the hard-earned goodwill built up in the
    22	
          LATERAL LINK Mark for many years may be permanently damaged if the Lateral.ly
    23	
          Defendants continue to associate their website and services sold therein under the guise
    24	
          of being Lateral Link or a Lateral Link affiliate.
    25	
                36.    Since Lateral Link’s registration for the LATERAL LINK Mark is the only
    26	
          mark on the Principal Register incorporating the term LATERAL LINK in connection
    27	
          with “personnel placement and recruitment for attorneys and other professionals” for
    28	
	
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     1	
          approximately 8 years, consumers are likely to mistakenly believe that Defendants’
     2	
          website and services listed therein are associated with or related to the services Lateral
     3	
          Link provides under the LATERAL LINK Mark.
     4	
                37.    Unless such conduct is enjoined, Defendants’ acts will greatly injure the
     5	
          value of the LATERAL LINK Mark and the ability of Lateral Link to commercially
     6	
          identify its services under the LATERAL LINK Mark.
     7	
     8	
     9	
                                                    COUNT I
    10	
                  INFRINGEMENT OF FEDERALLY REGISTERED TRADEMARK
    11	
                                     15 U.S.C. § 1114 (Lanham Act § 32)
    12	
                38.    Lateral Link repeats and incorporates by reference the allegations of the
    13	
          foregoing paragraphs as if fully set forth herein.
    14	
    15	
                39.    Lateral Link is the owner of U.S. Federal Trademark Registration No.

    16	
          3762826 and the LATERAL LINK trademark made the subject of that registration, in

    17	
          which the registration is valid, subsisting, and in full force and effect.

    18	
                40.    Defendants’ conduct is likely to cause confusion, to cause mistake or to

    19	
          deceive consumers as to the origin, source, or sponsorship of Defendants’ services, and is

    20	
          likely to create the false impression that Defendants’ services are provided by Lateral

    21	
          Link or are authorized, sponsored, endorsed or licensed by, or affiliated with Lateral

    22	 Link.
    23	         41.    The public, including Defendants, has been on constructive notice of Lateral

    24	 Link’s exclusive rights in the LATERAL LINK Mark since 2009, years before
    25	 Defendants began to market their legal recruiting services in connection with the
    26	 Infringing Mark.
    27	
    28	
	
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     1	
                42.    Defendants’ conduct is willful, in bad faith, and with full knowledge that
     2	
          Defendants have no right, license or authority to use the LATERAL LINK Mark or any
     3	
          other designation confusingly similar thereto.
     4	
                43.    Defendants’ conduct is intended to reap the benefit of the goodwill that
     5	
          Lateral Link has created in the LATERAL LINK Mark, and constitutes infringement of
     6	
          Lateral Link’s federally registered LATERAL LINK Mark in violation of Section 32(1)
     7	
          of the Lanham Act, 15 U.S.C. § 1114(1).
     8	
                44.    Because Defendants are using the LATERAL LINK Mark in connection
     9	
          with their business in an unauthorized manner, Defendants have caused and are causing
    10	
          substantial irreparable harm to Lateral Link and will continue to damage Lateral Link,
    11	
          and to deceive consumers, unless enjoined by this Court.
    12	
                45.    Lateral Link has been injured in an amount not yet ascertained, and has no
    13	
          adequate remedy at law.
    14	
    15	                                          COUNT II

    16	                           FEDERAL UNFAIR COMPETITION
    17	                           15 U.S.C. § 1125(a)(Lanham Act § 43(a)
    18	
    19	         46.    Lateral Link repeats and incorporates by reference the allegations of the
    20	 foregoing paragraphs as if fully set forth herein.
    21	         47.    The LATERAL LINK Mark has become uniquely associated with, and
    22	 hence identifies, Lateral Link. Defendants’ use of the Infringing Mark constitutes a false
    23	 designation of origin, or a false representation.
    24	
                48.    Defendants’ conduct is likely to cause confusion, to cause mistake or to
    25	
          deceive consumers as to the origin, source, or sponsorship of Defendants’ legal recruiting
    26	
          services and products offered in connection with the Infringing Mark, and is likely to
    27	
          create the false impression that Defendants’ services are provided by Lateral Link or are
    28	
          authorized, sponsored, endorsed or licensed by, or affiliated with Lateral Link.
	
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     1	
                49.   Lateral Link is informed and believes that Defendants, in adopting the
     2	
          Infringing Mark, have acted willfully and with full knowledge of Lateral Link’s rights in
     3	
          the LATERAL LINK Mark, and have used this false designation of origin and
     4	
          description in violation of Section 43(a) of the Lanham Act, 15 U.S.C. § 1125(a).
     5	
                50.   Because Defendants’ are using the Infringing Mark in connection with its
     6	
          business in an unauthorized manner, Defendants have caused and are causing substantial
     7	
          irreparable harm to Lateral Link and will continue to damage Lateral Link and to deceive
     8	
          consumers unless enjoined by this Court.
     9	
                51.   Lateral Link has been injured in an amount not yet ascertained, and has no
    10	
          adequate remedy at law.
    11	
    12	                                         COUNT III

    13	                    COMMON LAW TRADEMARK INFRINGEMENT
    14	         52.   Lateral Link repeats and incorporates by reference the allegations of the
    15	 foregoing paragraphs as if fully set forth herein.
    16	         53.   Defendants’ conduct is likely to cause confusion, to cause mistake or to
    17	 deceive consumers as to the origin, source, or sponsorship of Defendants’ legal recruiting
    18	 services and products offered in connection with the Infringing Mark, and is likely to
    19	 create the false impression that Defendants’ products are authorized, sponsored, endorsed
    20	 or licensed by, or affiliated with Lateral Link.
    21	         54.   Defendants had actual and constructive notice of Lateral Link’s exclusive
    22	 rights in the LATERAL LINK trademark since 2009, years before Defendants began to
    23	 market their legal recruiting services in connection with the Infringing Mark.
    24	         55.   Defendants’ conduct is willful, in bad faith, and with full knowledge that
    25	 Defendants have no right, license or authority to use the LATERAL LINK trademark or
    26	 any other designation confusingly similar thereto.
    27	
    28	
	
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     1	
                56.   Defendants’ conduct is intended to reap the benefit of the goodwill that
     2	
          Lateral Link has created in the LATERAL LINK Mark, and constitutes trademark
     3	
          infringement in violation of the common law of California and other states.
     4	
                57.   Because Defendants are using the LATERAL LINK Mark in connection
     5	
          with their business in an unauthorized manner, Defendants have caused and are causing
     6	
          substantial irreparable harm to Lateral Link and will continue to damage Lateral Link,
     7	
          and to deceive consumers, unless enjoined by this Court.
     8	
                58.   Lateral Link has been injured in an amount not yet ascertained, and has no
     9	
          adequate remedy at law.
    10	
    11	                                         COUNT IV

    12	                        COMMON LAW UNFAIR COMPETITION
    13	         59.   Lateral Link repeats and incorporates by reference the allegations of the
    14	 foregoing paragraphs as if fully set forth herein.
    15	         60.   Defendants’ conduct is likely to cause confusion, to cause mistake or to
    16	 deceive consumers as to the origin, source, or sponsorship of Defendants’ legal recruiting
    17	 services and products offered in connection with the Infringing Mark, and is likely to
    18	 create the false impression that Defendants’ services are provided by Lateral Link or are
    19	 authorized, sponsored, endorsed or licensed by, or affiliated with Lateral Link.
    20	         61.   Defendants’ conduct constitutes unfair competition in violation of the
    21	 common law of California and other states.
    22	         62.   Defendants’ conduct is willful, in bad faith, and with full knowledge that
    23	 Defendants’ have no right, license or authority to use the LATERAL LINK Mark or any
    24	 other designation confusingly similar thereto.
    25	         63.   Because Defendants are using the LATERAL LINK Mark in connection
    26	 with their business in an unauthorized manner, Defendants have caused and are causing
    27	 substantial irreparable harm to Lateral Link and will continue to damage Lateral Link,
    28	 and to deceive consumers, unless enjoined by this Court.
	
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     1	
                64.     Lateral Link has been injured in an amount not yet ascertained, and has no
     2	
          adequate remedy at law.
     3	
     4	
                                                   COUNT V
     5	
                                 CALIFORNIA UNFAIR COMPETITION
     6	
                      (CALIFORNIA BUSINESS AND PROFESSIONS CODE § 17200)
     7	
                65.     Lateral Link repeats and incorporates by reference the allegations of the
     8	
          foregoing paragraphs as if fully set forth herein.
     9	
                66.     Defendants’ aforesaid conduct, as alleged in Lateral Link’s above claims for
    10	
          relief, also constitutes unfair, unlawful, and fraudulent business practices in violation of
    11	
          California Business and Professions Code § 17200, et seq.
    12	
                67.     The LATERAL LINK Mark is wholly associated with Lateral Link due to
    13	
          its extensive marketing efforts, sales successes, and pervasive use thereof, and as such,
    14	
    15	
          Lateral Link has developed valuable assets in the LATERAL LINK Mark and its services

    16	
          sold under the LATERAL LINK Mark. It is only fair and legitimate that Lateral Link be

    17	
          able to continue its business without unfair, improper, unauthorized, and illegal

    18	
          interference by Defendants as alleged herein.

    19	
                68.     Defendants’ intentional misuse of the Infringing Mark appears purposefully

    20	
          directed at undercutting Lateral Link’s legitimate business involving its legal recruiting

    21	
          services and constitutes unfair competition in violation of California Business and

    22	 Professions Code, § 17200 and 17203.
    23	         69.     Defendants also are engaging in unfair, unlawful and fraudulent conduct by

    24	 presenting individuals on their website as officers and directors, when in reality they are
    25	 independent contractors. Specifically, Defendants Springut and Lateral.ly have placed
    26	 Defendants Liu, Schack, and Baker as directors and officers of their company when they
    27	 are not managing agents or are otherwise outside of the control of Defendant Habaes
    28	
	
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     1	
          Corp. Defendants have engaged in this scheme to seem larger than they are to
     2	
          misrepresent their stature in the marketplace.
     3	
                 70.    Lateral Link alleges that the aforesaid acts of unfair competition undertaken
     4	
          by Defendants were intentionally and knowingly performed and directed toward
     5	
          perpetuating a business competing unfairly with Lateral Link and were done with a
     6	
          willful disregard for the rights of Lateral Link.
     7	
                 71.    By reason of Defendants’ acts of unfair competition, Lateral Link has
     8	
          suffered and will continue to suffer irreparable injury unless and until this Court enters an
     9	
          order enjoining Defendants from any further acts of unfair competition. Defendants
    10	
          continuing acts of unfair competition, unless enjoined, will cause irreparable damage to
    11	
          Lateral Link in that it will have no adequate remedy at law to compel Defendants to
    12	
          cease such acts, and no way to determine its losses proximately caused by such acts of
    13	
          Defendants. Lateral Link is therefore entitled to a preliminary injunction and a
    14	
          permanent injunction against further infringing conduct by Defendants.
    15	
                 72.    As a direct and proximate result of the Defendants’ acts of unfair
    16	
          competition, Defendants have wrongfully taken Lateral Link’s profits and the benefit of
    17	
          their creativity and investment of time, energy and money. Defendants should therefore
    18	
          disgorge all profits from the sale of infringing services and further should be ordered to
    19	
          perform full restitution to Lateral Link as a consequence of Defendants’ infringing
    20	
          activities.
    21	
                 73.    In doing the acts hereinabove alleged, Defendants have acted fraudulently,
    22	
        oppressively, and maliciously, and will continue to do so unless enjoined.
    23	
                                                     	
    24	                                       COUNT VI
    25	
                               CONTRIBUTIORY INFRINGEMENT
                        (Against Defendants Liu, Schack, Barron and Baker)
    26	
    27	
    28	
	
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     1	
                74.    Plaintiff repeats and reincorporates the foregoing paragraphs as though set
     2	
          forth fully herein.
     3	
                75.    Liu, Schack, and Baker (the “Coding Defendants”) were involved in the
     4	
          technical aspects of the creation of the Lateral.ly website, including engineering and user
     5	
          experience. Barron was involved in marketing Lateral.ly. The actions of the Defendants
     6	
          described above and specifically, without limitation, their knowledge, participation, and
     7	
          inducement of the unauthorized use of the LATERAL LINK trademark in the building of
     8	
          the Lateral.ly website to advertise, market and sell competing lateral legal recruitment
     9	
          services, and their efforts to create systems to retain potential candidates constitute
    10	
          contributory trademark infringement, an are in violation of federal law and the common
    11	
          law of the State of California.
    12	
                76.    The actions of the Coding Defendants and Barron, if not enjoined, will
    13	
          continue. Plaintiff has suffered and continues to suffer damages in an amount to be
    14	
          proven at trial consisting of, among other things, diminution in the value of and goodwill
    15	
          associated with the Lateral Link mark, and injury to Plaintiff’s business.
    16	
                77.    On information and belief, the actions of the Coding Defendants and Barron
    17	
          described above were and continue to be deliberate and willful.
    18	
    19	                                     PRAYER	FOR	RELIEF	
    20	         WHEREFORE, Lateral Link respectfully requests the following relief:
    21	         A.     Preliminary and permanent injunctions prohibiting Defendants and their
    22	 officers, directors, agents, principals, divisions, representatives, servants, employees,
    23	 associates, subsidiaries, affiliates, attorneys, successors and assigns, and all persons
    24	 acting by, through, under or in active concert or in participation with or controlled, either
    25	 directly or indirectly, by any of them, from using the Infringing Mark, the LATERAL
    26	 LINK Mark, or any confusingly similar variation thereof, as, or as a component of, a
    27	 trademark, trade name or otherwise, in connection with the advertising, promoting,
    28	
	
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     1	
          marketing, offering, selling or provision of their services and related products in the
     2	
          United States, and from otherwise infringing the LATERAL LINK Mark;
     3	
                B.     Preliminary and permanent injunctions requiring Defendants to remove all
     4	
          appearances of the Infringing Mark, and any confusingly similar variations thereof, from
     5	
          its web pages, business forms, mailing labels, invoices, sales aids, advertisements, and all
     6	
          other advertising, sales and promotional materials;
     7	
                C.     An order enjoining Defendants from committing any acts or making any
     8	
          statements calculated, or the reasonable foreseeable consequence of which would be, to
     9	
          infringe or dilute the LATERAL LINK Mark;
    10	
                D.     An order requiring Defendants to provide the Court for destruction, or show
    11	
          proof of destruction of, any and all products, labels, signs, prints, advertisements,
    12	
          signage, building design(s), packages, wrappers, catalogs, internet web pages, and any
    13	
          other materials in their possession or control bearing or depicting the Infringing Mark, the
    14	
          LATERAL LINK Mark, or any other word or words confusingly similar thereto;
    15	
                E.     An order requiring Defendants to cancel or cause to be cancelled any
    16	
          pending trademark application related to the Infringing Mark, and to refrain from seeking
    17	
          any trademark registration inconsistent with the foregoing injunctive relief;
    18	
                F.     An order requiring Defendants to file with this Court and to serve upon
    19	
          Lateral Link within thirty (30) days after the entry and service on Defendants of an
    20	
          injunction, a report in writing under oath setting forth in detail the manner and form in
    21	
          which Defendants have complied with the injunction;
    22	
                G.     An accounting for all profits derived by Defendants and its subsidiaries and
    23	
          affiliates from their unlawful acts;
    24	
                H.     An award of such monetary remedies in an amount sufficient to compensate
    25	
          Lateral Link for losses it has sustained as a consequence of Defendants’ unlawful acts, as
    26	
          well as the profits of Defendants’ and their subsidiaries and affiliates attributable to the
    27	
          unlawful acts;
    28	
	
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     1	
                  I.   An award of treble damages or other enhanced monetary remedies to Lateral
     2	
          Link;
     3	
                  J.   An award of attorney’s fees and costs to Lateral Link; and
     4	
                  K.   Such further relief as the Court may deem just and appropriate.
     5	
     6	
          Dated: October 18, 2016                  TAULER SMITH LLP
     7	
     8	
     9	
                                                   By: /s/ Robert Tauler
    10	                                               ROBERT TAULER
    11	
                                                      Attorney for Plaintiff
                                                      LATERAL LINK GROUP, LLC
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     1	
     2	                                       JURY DEMAND
     3	
                Plaintiff Lateral Link hereby demands a jury trial pursuant to Rule 38(b) of the
     4	
          Federal Rules of Civil Procedure.
     5	
     6	
     7	
     8	
     9	
          Dated: October 18, 2016                  TAULER SMITH LLP
    10	
    11	
    12	
                                                   By: /s/ Robert Tauler
    13	                                               ROBERT TAULER
                                                      Attorney for Plaintiff
    14	                                               LATERAL LINK GROUP, LLC
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                                     SECOND AMENDED COMPLAINT
